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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                           CIVIL MINUTES - GENERAL



 Case No.          2:21-cv-07598-RGK-MAR                                         Date     October 27, 2021


 Title    Bryan Williams v. Timothy J. Perry, et al


 Present: The Honorable              R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
                   Sharon L. Williams                                               N/A
                      Deputy Clerk                                            Court Reporter


                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                       None appearing                                        None appearing


 Proceedings:                 (In Chambers) Order to Show Cause re Dismissal for Lack of
                              Prosecution

       Absent a showing of good cause, an action must be dismissed without prejudice if the summons
and complaint are not served on a defendant within 90 days after the complaint is filed.
Fed.R.Civ.Proc. 4(m). Generally, defendants must answer the complaint within 21 days after service
(60 days if the defendant is the United States). Fed.R.Civ.Proc. 12(a)(1).

        In the present case, it appears that one or more of these time periods has not been met.
Accordingly, the court, on its own motion, orders plaintiff(s) to show cause in writing on or before
November 3, 2021 why this action should not be dismissed for lack of prosecution. Pursuant to Rule
78 of the Federal Rules of Civil Procedure, the court finds that this matter is appropriate for submission
without oral argument. The Order To Show Cause will stand submitted upon the filing of plaintiff’s
response. If plaintiff files

9        Proof of timely service of summons and complaint.

9        A timely answer by the following defendant(s):

X        Plaintiff’s application for entry of default pursuant to Rule 55a of the Federal Rules of
         Civil Procedure as to defendant(s): Timothy J. Perry (answer was due 10/19/21)

9        Plaintiff’s motion for default judgment pursuant to Rule 55b of the Federal Rules of Civil
         Procedure as to defendant(s):

on or before the date indicated above, the court will consider this a satisfactory response to the Order
To Show Cause. If a satisfactory response is not filed by the date listed above, the matter will be
dismissed for lack of prosecution.




CV-90 (12/02)                                   CIVIL MINUTES - GENERAL                   Initials of Deputy Clerk slw
